Case 01-01139-AMC Doc126 Filed 04/20/01 Pagei1of3

Kimberly W. Osenbaugh, wssa # 5307 Chapter 11 S10) ton an

PRESTON GATES & ELLIS LLP ee EN EU AB IO: 55
701 Fifth Avenue

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(206) 623-7580 BE PARE

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Case No. 01-1139 (RJN)
Jointly Administered

W.R. GRACE & CO., et al.,
SPECIAL REQUEST FOR NOTICE
Debtors.

TO: Bankruptcy Court Clerk and to James H.M. Sprayregen, and Laura Davis Jones, counsel to
the Debtors
The following hereby requests that all notices, applications, motions, hearings, orders, and

proceedings required by Bankruptcy Rule 2002 to be mailed to a creditor, equities security holder or
indentured trustee and, pursuant to Bankruptcy Rule 3017, any Plan or Disclosure Statement filed in
this case be transmitted to the following:

Kimberly W. Osenbaugh

Preston Gates & Ellis LLP

701-5th Avenue

Suite 5000
Seattle, WA 98104-7078

Original _
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SPECIAL REQUEST FOR NOTICE - 1 PRESTON GATES & ELLIS LLP
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DATED this 18 day of April, 2001.

SPECIAL REQUEST FOR NOTICE - 2

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DECLARATION OF MAILING
I, Ann Marie Bnght, declare the following:
1. I am a citizen of the United States, residing in the state of Washington, over the age
of twenty-one, not party to the above entitled action and am competent to stand witness.
2: On April 18, 2001, I caused to be deposited in the United States mail, first class
postage prepaid, true and correct copies of the Special Request For Notice to the following parties:

James H.M. Sprayregen
Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601

Laura Davis Jones

Pachulski Stang Ziehl & Young PC
919 North Market Street

Suite 1600 ote
P.O. Box 8705 Ge
Wilmington, DE 19899-8705 2

United States Trustee

Attn: Richard Schepacarter, Esq.
Curtis Center, Suite 950 West
601 Walnut Street

Philadelphia, PA 19106

I declare under penalty of perjury that the foregoing is true and correct.

DATED this 18" day of April, 2001.

Secretary to Kimberly W. Osenbaugh

SPECIAL REQUEST FOR NOTICE - 3 PRESTON GATES & ELLIS LLP
701 FIFTH AVENUE
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